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12
                            UNITED STATES DISTRICT COURT
13
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
                                   WESTERN DIVISION
15
     UNITED STATES OF AMERICA,               Case No. 2:21-cv-07192
16
               Plaintiff,                    COMPLAINT FOR FORFEITURE
17
                     v.                      18 U.S.C. § 981(a)(1)(A) & (C),
18                                           21 U.S.C. § 881(a)(6) and
     $1,500,090.00 IN U.S. CURRENCY,         31 U.S.C. § 5317(c)(2)
19
               Defendant.                    [FBI]
20

21
          Plaintiff United States of America brings this claim against
22
     defendant $1,500,090.00 in U.S. Currency, and alleges as follows:
23
                                JURISDICTION AND VENUE
24
          1.    The government brings this in rem forfeiture action
25
     pursuant to 18 U.S.C. § 981(a)(1)(A) & (C), 21 U.S.C. § 881(a)(6) and
26
     31 U.S.C. § 5317(c)(2).
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 1           2.   This Court has jurisdiction over the matter under 28 U.S.C.

 2   §§ 1345 and 1355.

 3           3.   Venue lies in this district pursuant to 28 U.S.C. § 1395.

 4                               PERSONS AND ENTITIES

 5           4.   The plaintiff in this action is the United States of

 6   America.

 7           5.   The defendant in this action is $1,500,090.00 in U.S.

 8   Currency (the “defendant currency”) seized by law enforcement

 9   officers on or about March 22, 2021, from a safe deposit box used by

10   Michael Poliak at U.S. Private Vaults, which is located at 9182

11   Olympic Boulevard in Beverly Hills, California.

12           6.   The defendant currency is currently in the custody of the

13   United States Marshals Service in this District, where it will remain

14   subject to this Court’s jurisdiction during the pendency of this

15   action.

16           7.   The interests of Michael Poliak and Gabrielle Poliak may be

17   adversely affected by these proceedings.

18                               BASIS FOR FORFEITURE

19           8.   Michael Poliak is a co-owner of U.S. Private Vaults

20   (“USPV”), which is a company that rents safe deposit boxes to

21   customers anonymously.     He has engaged in extensive criminal

22   activities, including drug trafficking, wire fraud, money laundering

23   and structuring, as more fully detailed in an affidavit filed on or

24   about March 17, 2021 for a warrant regarding USPV.          A true and

25   correct copy of the affidavit and warrant is attached hereto as

26   Exhibit A and incorporated herein by reference.         Based on the

27   criminal activity set forth in the affidavit, the defendant currency

28   / / /

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 1   is subject to forfeiture as criminal proceeds and property involved

 2   in money laundering and structuring.

 3        9.    The Federal Bureau of Investigation commenced

 4   administrative forfeiture proceedings against the defendant currency.

 5   In response thereto, Michael Poliak and Gabrielle Poliak submitted

 6   claims contesting the administrative forfeiture of the defendant

 7   currency, which required the government to file this judicial

 8   forfeiture action in order to conclude the forfeiture of the funds.

 9                              FIRST CLAIM FOR RELIEF

10        10.   Plaintiff incorporates the allegations of paragraphs 1-9
11   above as though fully set forth herein.
12        11.   Based on the above, plaintiff alleges that the defendant
13   currency represents or is traceable to proceeds of illegal narcotic
14   trafficking, was intended to be used in one or more exchanges for a
15   controlled substance or listed chemical, or was used or intended to
16   be used to facilitate a controlled substance or listed chemical
17   violation, in violation of 21 U.S.C. § 841 et seq.          The defendant
18   currency is therefore subject to forfeiture pursuant to 21 U.S.C.
19   § 881(a)(6).

20                             SECOND CLAIM FOR RELIEF

21        12.   Plaintiff incorporates the allegations of paragraphs 1-9

22   above as though fully set forth herein.

23        13.   Based on the above, plaintiff alleges that the defendant

24   currency constitutes or is derived from proceeds traceable to a

25   controlled substance violation or wire fraud violation (18 U.S.C.

26   § 1341), each of which is a specified unlawful activity as defined in

27   18 U.S.C. §§ 1956(c)(7)(A) and 1961(1)(D).        The defendant currency is

28   therefore subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C).

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 1                              THIRD CLAIM FOR RELIEF

 2        14.   Plaintiff incorporates the allegations of paragraphs 1-9

 3   above as though fully set forth herein.

 4        15.   Based on the above, plaintiff alleges that the defendant

 5   currency constitutes property involved in multiple transactions or

 6   attempted transactions in violation of 18 U.S.C. § 1956(a)(1)(A)(i)

 7   or (a)(1)(B)(i), or property traceable to such property, with the

 8   specified unlawful activity being a controlled substance or listed

 9   chemical violation or wire fraud violation (18 U.S.C. § 1341).            The

10   defendant currency is therefore subject to forfeiture pursuant to 18

11   U.S.C. § 981(a)(1)(A).

12                             FOURTH CLAIM FOR RELIEF

13        16.   Plaintiff incorporates the allegations of paragraphs 1-9
14   above as though fully set forth herein.
15        17.   Based on the above, plaintiff alleges that the defendant
16   currency constitutes property involved in multiple transactions or
17   attempted transactions in violation of 18 U.S.C. § 1957(a), or
18   property traceable to such property, with the specified unlawful
19   activity being a controlled substance or listed chemical violation or

20   wire fraud violation (18 U.S.C. § 1341).        The defendant currency is

21   therefore subject to forfeiture pursuant to 18 U.S.C. § 981(a)(1)(A).

22                              FIFTH CLAIM FOR RELIEF

23        18.   Plaintiff incorporates the allegations of paragraphs 1-9

24   above as though fully set forth herein.

25        19.   Based on the above, plaintiff alleges that the defendant

26   currency was involved in one or more violations of 31 U.S.C.

27   ' 5316(a) (requiring reports on importing monetary instruments of

28   more than $10,000.00), or a conspiracy to commit such violation, or

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 1   constitutes property traceable to such violation or conspiracy.               The

 2   defendant currency is therefore subject to forfeiture pursuant to

 3   31 U.S.C. ' 5317(c)(2).

 4        WHEREFORE, plaintiff United States of America prays:

 5        (a)   that due process issue to enforce the forfeiture of the

 6   defendant currency;

 7        (b)   that due notice be given to all interested parties to

 8   appear and show cause why forfeiture should not be decreed;

 9        (c)   that this Court decree forfeiture of the defendant currency

10   to the United States of America for disposition according to law; and

11        (d)   for such other and further relief as this Court may deem

12   just and proper, together with the costs and disbursements of this

13   action.

14   Dated: September 7, 2021          TRACY L. WILKISON
                                       Acting United States Attorney
15                                     SCOTT M. GARRANGER
                                       Assistant United states Attorney
16                                     Chief, Criminal Division

17
                                       _______/s/___________________
18                                     VICTOR A. RODGERS
                                       MAXWELL COLL
19                                     Assistant United States Attorneys
                                       Asset Forfeiture/General Crimes
20                                     Sections

21                                     Attorneys for Plaintiff
                                       UNITED STATES OF AMERICA
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 1                                    VERIFICATION

 2        I, Lynne Zelhart, hereby declare that:

 3        1.    I am a Special Agent with the Federal Bureau of

 4   Investigation.

 5        2.    I have read the above Complaint for Forfeiture and know the

 6   contents thereof.

 7        3.    The information contained in the Complaint is either known

 8   to me personally, was furnished to me by official government sources,

 9   or was obtained pursuant to subpoena.        I am informed and believe that

10   the allegations set out in the Complaint are true.

11        I declare under penalty of perjury under the laws of the United

12   States of America that the foregoing is true and correct.

13        Executed on September 6, 2021 at Los Angeles, California.

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15                                           /s/ Lynne Zelhart
                                                 Lynne Zelhart
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